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UNITED STATES DISTRICT COURT OL |
DISTRICT OF MINNESOTA ERK, U.S. DISTRICT COURT
MINNEAPOLIS, MINNESOTA
DARKO PAVLOVSKI
Case No. 24-cv-04452
Plaintiff(s),
Vv.
PLAINTIFFS MEMORANDUM IN LAW RE
AMENDING THE COMPLAINT
FRONTIER AIRLINES INC.
Defendant.

Plaintiff, in support of his Amending of the Pleading as a matter of course, presents the Court

with the below memorandum in law:

AMEND THE PLEADINGS MEMO

Rule 15 from Fed. R. Civ. P. states:

“A party may amend a pleading once as a matter of course at any time before a
responsive pleading is served or, if the pleading is one to which no responsive
pleading is permitted and the action has not been placed upon the trial calendar,
the party may so amend it no later than 21 days after it is served. Otherwise a
party may amend a pleading only by leave of court or by written consent of the
adverse party; and leave shall be freely given when justice so requires. A party
shall plead in response to an amended pleading within the time remaining for
response to the original pleading or within 14 days after service of the amended
pleading, whichever period may be longer, unless the court otherwise orders.”

In this case, the responsive pleading is not served yet, the action has not been placed upon the
trial calendar, and it has been less than 21 days since the original Complaint was served.

Accordingly, the Plaintiff can amend the pleading once as a matter of course. Therefore, I have

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done so, and filed a new, “First Amended Complaint”.

Dated O9 /1/(LO2¢ “Yyg—
" lp &

Darko Pavlovski (Plaintiff)
